Case 17-04024         Doc 21     Filed 06/19/17     Entered 06/19/17 09:55:43        Main Document
                                                  Pg 1 of 6


                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI

 IN RE:                                           )
                                                  )
 JOHN DAVID THOMPSON,                             ) Case No.13-41481
                                                  )
                         Debtor.                  )
 _______________________________                  )
                                                  )
                                                  ) Adversary No. 17-04024
 JOHN DAVID THOMPSON,                             )
                                                  )
                                 Plantiff,        )
 vs.                                              )
                                                  )
 MISSOURI DEPARTMENT OF                           )
 REVENUE                                          )
                                                  )
                                 Defendant.       )

                 DEFENDANT MISSOURI DEPARTMENT OF REVENUE’S
              REPLY TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Defendant Missouri Department of Revenue (MDOR) files the following as its Reply to
 Plaintiff’s Motion for Summary Judgment:


                            Specific Statute Controls Over General Statute(s)
       Plaintiff states that the notices of deficiency for the 2007 and 2008 tax years were not served
 upon him within the statute of limitations provided in §143.711 RSMo and, therefore, were
 invalid resulting in the deficiencies being discharged in his bankruptcy. Plaintiff believes that
 §143.711.1 through §143.711.3 are the relevant statutes in determining the appropriate statute of
 limitations in this case. These statutes state the general rule regarding the statute of limitations
 on assessments by MDOR.
       MDOR takes the position that §143.711.4, which deals specifically with situations involving
 a federal audit and the taxpayer not filing an amended return as a result of the federal audit as
 required under §143.601, is the relevant statute of limitations in this case. The law is well settled
 that when one statute addresses a matter generally and another statute addresses specific
 situations, that the specific statute controls. Resolution of the conflict is guided by deference to
Case 17-04024       Doc 21     Filed 06/19/17     Entered 06/19/17 09:55:43         Main Document
                                                Pg 2 of 6


 the more specific of the two subdivisions. When the same subject matter is addressed in general
 terms in one statute and in specific terms in another, the more specific controls over the more
 general. Greenbriar Hills Country Club v. Director of Revenue, 935 S.W. 2d 36, 38 (Mo. Banc
 1996).__Terminal R.R. Ass’n of St. Louis et al. v. City of Brentwood, 230 S.W. 2d 768, 769
 (1950). It is a well established rule of statutory construction that specific designations will
 control over general terms. We have stated this rule as follows: "Where general terms or
 expressions in one part of a statute are inconsistent with more specific or particular provisions in
 another part the particular provisions must govern, unless the statute as a whole clearly shows the
 contrary intention and they must be given effect notwithstanding the general provision is broad
 enough to include the subject to which the particular provisions relate." Jacoby v. Missouri
 Valley Drainage District, 349 Mo. 818, 163 S.W.2d 930, 938; see also State ex rel. Garesche v.
 Roach, 258 Mo. 541, 167 S.W. 1008; State ex inf. McKittrick v. Wilson, 350 Mo. 486, 166 S.W.2d
 499, 143 A.L.R. 1465.
      §143.711.4 states that if a taxpayer fails to comply with the requirement of section §143.601
 by not reporting a change or correction increasing his federal taxable income or by not filing an
 amended return, a notice of deficiency may be mailed to the taxpayer within one year after the
 director of revenue shall become aware of such determination.



                   Plaintiff’s Reading of §143.711 Renders §143.711.4 Meaningless

      Plaintiff states that “Conspicuously absent from RSMo §143.711.4, is any language that
 extends the period of time prescribed in RSMo §143.711.4 if the change or increase in federal
 taxable income or a requirement to file an amended return occurs after the expiration of the three
 (3) year period.” MDOR contends that §143.711.4 specifically contemplates this extension of
 time by including language that the notice of deficiency must be mailed within one year after the
 director shall become aware of a determination by the IRS that a change or increase in federal
 taxable income has occurred.

      Plaintiff proposes that any assessment must be made within the normal three year statute of
 limitations. However, this renders the language of §143.711.4 superfluous. There is no need for
 the language “one year after the director shall become aware of a determination by the IRS” if
 the assessment must be made within the normal three year statute of limitations. “This result
Case 17-04024       Doc 21     Filed 06/19/17     Entered 06/19/17 09:55:43         Main Document
                                                Pg 3 of 6


 would defy the norm of statutory construction that every word, clause, sentence, and provision of
 a statute must have effect. [We] presume that the legislature did not insert idle verbiage or
 superfluous language in a statute.” Civil Serv. Com'n of St. Louis v. Members of Bd. of Aldermen
 of St. Louis, 92 S.W.3d 785, 788 (Mo.2003) (en banc) (quotations omitted). Plaintiff would have
 the court read the language of §143.711.4 as requiring the notice of deficiency be mailed within
 one year after the director shall become aware of such determination but in no event beyond the
 time limitations provided in §143.711.1 through §143.711.3. The plain language of the statutes
 does not support this contention.

      The first words of §143.711 state “Except as otherwise provided in this section and
 section 143.721. . . “ (emphasis added). §143.711.4 otherwise provides treatment for situations
 in which the taxpayer does not comply with the requirements of section §143.601. It provides
 for one year from the time the director “shall become aware of such determination.” (emphasis
 added). Limiting the ability to assess under §143.711.4 to the time limitations provided in
 §143.711.1 through §143.711.3 would render §143.711.4 meaningless. There is no need to state
 that “a notice of deficiency may be mailed to the taxpayer within one year after the director shall
 become aware of such determination” if the time limitations of the previous sections of §143.711
 prevail. The intent is clearly to provide the director a sufficient period of time to assess once he
 becomes aware of the change made by the Internal Revenue Service.



                                     Campbell v. Director of Revenue

        Plaintiff cites Campbell v. Director of Revenue, 927 S.W. 3d 452, 455 (Mo. App. W.D.,
 1966) as support for his position. MDOR contends that the holding in this case does not provide
 support for Plaintiff’s argument and, in fact, supports MDOR’s position instead.

      The Court in Campbell states that §143.711.4 is the controlling statute of limitations when
 the taxpayer has not complied with the requirements of §143.601. The Court states that a notice
 of deficiency may be mailed to the taxpayer within one year after the Director of Revenue shall
 become aware of such determination by the IRS. The Court goes on to state that “While this
 section provides the Director one year to give notice, it does not reduce the normal three year
 statute of limitations provided in section 143.711.1 that is otherwise applicable. 12 CSR 10-
Case 17-04024       Doc 21     Filed 06/19/17     Entered 06/19/17 09:55:43        Main Document
                                                Pg 4 of 6


 2.105. This section is to provide the Director additional time where the general statute of
 limitation has run or is about to run and a change has been made in the federal tax liability.”

      The issue in the Campbell case was whether the statute of limitations was controlled by
 §143.711.4 because the taxpayer had not complied with the requirements of §143.601 or the
 three year limitation period found in §143.711.1. The Administrative Hearing Commission held
 that an amended return was filed by the taxpayer and that this resulted in a three year limitation
 period from the date of the filing of the amended return. The Missouri Court of Appeals found
 that the AHC erred in determining that the statute of limitations was three years under
 §143.711.1 for two reasons. First, the form provided by the taxpayers was not an amended
 return and secondly, even if it was an amended return, §143.711.1 only provides a limitation
 period for taxes associated with original returns. The Court found that an amended return would
 not extend the statute.

      The Court found that §143.711.4 was the correct statute of limitations and that the Director
 of Revenue was notified by the IRS of the changes to the federal return and additional federal
 assessments on March 11, 1991. Under §143.711.4, the IRS notice would give the Director until
 March 12, 1992, one year after receiving notification, to send a notice of deficiency. In the
 Campbell case, the Director issued a notice of deficiency on January 3, 1995 which was clearly
 outside the one year statute of limitations. Therefore, the Court held against MDOR .

      In the current case, MDOR sent Notices of Adjustment within 7 days after becoming aware
 of the federal changes to the 2007 and 2008 tax returns. Notices of Deficiency were sent for
 both tax years in less than two months. The assessments were well within one year of the time
 MDOR became aware of the changes to the federal return so it complied with the statute of
 limitations in §143.711.4.



                      Failure to Report a Change and File an Amended Return

        The pertinent language of §143.601 is as follows:
      “If the amount of a taxpayer's federal taxable income reported on his federal income tax
 return for any taxable year is changed or corrected by the United States Internal Revenue Service
 or other competent authority, or as the result of a renegotiation of a contract or subcontract with
Case 17-04024      Doc 21     Filed 06/19/17     Entered 06/19/17 09:55:43         Main Document
                                               Pg 5 of 6


 the United States, the taxpayer shall report such change or correction in federal taxable income
 within ninety days after the final determination of such change, correction, or renegotiation, or as
 otherwise required by the director of revenue. Each such report shall state whether and wherein
 the determination is believed to be erroneous. Any taxpayer filing an amended federal income
 tax return shall also file within ninety days thereafter an amended return under sections 143.011
 to 143.996, and shall give such information as the director of revenue may require.”

      MDOR contends that this language addresses two separate situations:

        1) If the IRS changes or corrects the amount of a taxpayer’s federal taxable income, the
            taxpayer shall report such change or correction in federal taxable income within
            ninety days after the final determination of such change, correction, or renegotiation,
            or as otherwise required by the director of revenue.

        2) Any taxpayer filing an amended federal income tax return shall also file within ninety
            days an amended return under sections 143.011 and 143.996.

        Plaintiff states that he was not required to file an amended Missouri return because he
 was not required to file an amended federal return. There is nothing in Missouri’s statutes that
 says Plaintiff was only required to file an amended Missouri return if he had to file an amended
 federal return.

        Plaintiff states that there is no provision in RSMo §143.711.1 that indicated a failure to
 comply with the requirements of §143.601 tolls or extends the three (3) year period. MDOR
 agrees that there is no provision in §143.711.1 that would extend the three (3 year) period to
 serve a notice of deficiency. However, the appropriate statute, §143.711.4 explicitly extends the
 statute of limitations until one year after MDOR became aware of the IRS determination.
Case 17-04024       Doc 21    Filed 06/19/17     Entered 06/19/17 09:55:43       Main Document
                                               Pg 6 of 6


        Wherefore, Defendant MDOR asks the Court to deny Plaintiff’s Motion for Summary
 Judgment and grant the Motion for Summary Judgment filed in this action and to determine that
 the income tax liabilities for the 2007 and 2008 tax years are not discharged and that MDOR
 issued timely assessments under Missouri law, and grant such other and further relief to which it
 may be entitled.


                                               Respectfully submitted,

                                               Josh Hawley, Attorney General
                                               State of Missouri


                                                /s/ Sheryl L. Moreau
                                               Sheryl L. Moreau, Mo. Bar # 34690
                                               Special Assistant Attorney General
                                               Missouri Department of Revenue
                                               General Counsel's Office
                                               301 W. High Street, Room 670
                                               P.O. Box 475
                                               Jefferson City, MO 65105-0475
                                               (573) 751-5531 FAX (573) 751-7232
                                               E-Mail: Sherry.Moreau@dor.mo.gov
                                               Attorney for Department of Revenue.




                                 CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of the foregoing Missouri Department of Revenue’s
 Reply to Plaintiff’s Motion for Summary Judgment was sent electronically through the Court’s
 ECF system on June 19, 2017.

 /s/Sheryl L. Moreau
